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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Glen Johnson, Timothy Gillen, Kyle Jones,       Case No.: 14-CV-2081 (PAM/LIB)
Steven Hall, Clayton Johnson, Mark
Hubbard, Steve Piper, and Bill Patt as
Trustees of the Operating Engineers Local
#49 Health and Welfare Fund, Michael R.
Fanning as a Fiduciary of the Central
Pension Fund of the International Union of
Operating Engineers and Participating
Employers, Joseph Ryan, Bruce Carlson,
Glen Johnson, Frank Frattalone, Lee Hiller,
Tony Phillippi, Greg Waffensmith, Mark
Ryan, as Trustees of the Local #49
International Union of Operating Engineers
and Associated General Contractors of
Minnesota Apprenticeship and Training
Program, the Operating Engineers Local
#49 Health and Welfare Fund, the Central
Pension Fund of the International Union of
Operating Engineers and Participating                     NOTICE OF APPEAL
Employers, and the Local #49 International
Union of Operating Engineers and
Associated     General    Contractors    of
Minnesota Apprenticeship and Training
Program,

             Plaintiffs,

vs.

Charps Welding & Fabricating, Inc.,
Clearwater Energy Group, Inc. f/n/a C & G
Holding Company of Clearbrook, Inc., C &
G Construction Inc. of Clearbrook, Alpha
Oil & Gas Services, Inc., and Kenneth
Charpentier, individually,


             Defendants.

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       Pursuant to Fed. R. App. P. 3(c)(1) and 4(a), notice is hereby given that Glen

Johnson, Timothy Gillen, Kyle Jones, Steven Hall, Clayton Johnson, Mark Hubbard,

Steve Piper, and Bill Patt as Trustees of the Operating Engineers Local #49 Health and

Welfare Fund, Michael R. Fanning as a Fiduciary of the Central Pension Fund of the

International Union of Operating Engineers and Participating Employers, Joseph Ryan,

Bruce Carlson, Glen Johnson, Frank Frattalone, Lee Hiller, Tony Phillippi, Greg

Waffensmith, Mark Ryan, as Trustees of the Local #49 International Union of Operating

Engineers and Associated General Contractors of Minnesota Apprenticeship and

Training Program, the Operating Engineers Local #49 Health and Welfare Fund, the

Central Pension Fund of the International Union of Operating Engineers and

Participating Employers, and the Local #49 International Union of Operating Engineers

and Associated General Contractors of Minnesota Apprenticeship and Training

Program, Plaintiffs in the above-named case, hereby appeal to the United States Court

of Appeals for the Eighth Circuit from the following:

1.     Orders dated February 21, 2018 and March 8, 2018, denying the Trustees’

       request for discovery (Court Docket Nos. 262, 268); and

2.     Order dated August 20, 2018, granting the Defendants’ Motion for Summary

       Judgment and denying the Plaintiffs’ Motion for Summary Judgment (Court

       Docket No. 311); and

3.     The Judgment in a Civil Case entered in this action on August 21, 2018, (Court

       Docket No. 312).




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Date: September 18, 2018             MCGRANN SHEA CARNIVAL
                                     STRAUGHN & LAMB, CHARTERED


                                     By s/ Carl S. Wosmek
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                                     Amy L. Court (Atty. No. 319004)
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